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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


 Judicial Watch, Inc.,                                No. 18-cv-154 RBW

                                     Plaintiff,       Hon. Reggie B. Walton
                                                      United States District Judge
                       v.

 U.S. Department of Justice,

                                   Defendant.


                                    JOINT STATUS REPORT

       This FOIA case seeks travel records of and communications between former Federal

Bureau of Investigation employees Peter Strzok and Lisa Page. In accordance with the Court’s

minute orders dated June 26 and December 16, 2020, plaintiff Judicial Watch, Inc. and defendant

U.S. Department of Justice report as follows:

       1.      Between October 1 and October 31, 2021, the FBI processed 500 pages of

potentially responsive records and produced in whole or in part 208 pages of responsive records to

Judicial Watch.

       2.      Between November 1 and November 30, 2021, the FBI processed 500 pages of

potentially responsive records and produced in whole or in part 260 pages of responsive records to

Judicial Watch.

       3.      Between December 1 and December 30, 2021, the FBI processed 500 pages of

potentially responsive records and produced in whole or in part 184 pages of responsive records to

Judicial Watch.

       4.      In accordance with the Court’s minute orders dated June 26 and December 16,

2020, the parties will file another status report advising the Court of the FBI’s progress in
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processing the request on or before April 1, 2022.

Dated: January 3, 2022                               Respectfully submitted,

/s/ Michael Bekesha                                  BRIAN M. BOYNTON
Michael Bekesha                                      Acting Assistant Attorney General
D.C. Bar No. 995749
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